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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ERIK GARCIA,                                          )
                                                      )
                       Plaintiff,                     )
                                                      )        CIVIL ACTION
vs.                                                   )
                                                      )        FILE No. 4:20-CV-00020
EDGEBROOK BUSINESS, INC. and                          )
SPRING ENTERPRISES, LP,                               )
                                                      )
                       Defendants.                    )

                                    AMENDED COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Amended Complaint against Defendants EDGEBROOK BUSINESS, INC. and SPRING

ENTERPRISES, LP, pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support

thereof, Plaintiff respectfully shows this Court as follows:

                                         JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendants’

failure to remove physical barriers to access and violations of Title III of the ADA.

                                            PARTIES

       2.      Plaintiff ERIK GARCIA (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking, standing,


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grabbing, grasping and/or pinching.

        5.       Plaintiff uses a wheelchair for mobility purposes.

        6.       Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property as soon as it is accessible (“Advocacy Purposes”).

        7.       Defendant, EDGEBROOK BUSINESS, INC. (hereinafter “EDGEBROOK

BUSINESS, INC.”), is a Texas company that transacts business in the State of Texas and within

this judicial district.

        8.       Defendant, EDGEBROOK BUSINESS, INC., may be properly served with

process via its registered agent for service, to wit: Barkat S. Maredia, Registered Agent, 85 East

Edgebrook, Houston, TX 77034.

        9.       Defendant, SPRING ENTERPRISES, LP (hereinafter “SPRING ENTERPRISES,

LP”), is a Texas limited partnership that transacts business in the State of Texas and within this

judicial district.

        10.      Defendant, SPRING ENTERPRISES, LP, may be properly served with process

via its registered agent for service, to wit: c/o Ricky Ganim, Registered Agent, 3320 Amherst

Street, Houston, TX 77005.




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                                    FACTUAL ALLEGATIONS

       11.     On or about December 22, 2019, Plaintiff was a customer at “Zip N Food Store” a

business located at 85 E. Edgebrook Drive, Houston, TX 77034 referenced herein as “Zip N”.

       12.     Zip N is operated by Defendant, EDGEBROOK BUSINESS, INC. and it is

located on the Property.

       13.     Defendant, EDGEBROOK BUSINESS, INC., is the lessee and operator of Zip N

which is located on the Property.

       14.     Defendant, SPRING ENTERPRISES, LP, is the owner or owner of the real

property and improvements that Zip N is situated upon and that is the subject of this action,

referenced herein as the “Property.”

       15.     Plaintiff lives 10 miles from Zip N and the Property.

       16.     Plaintiff’s access to the business(es) located 85 E. Edgebrook Drive, Houston, TX

77034, Harris County Property Appraiser’s account number 0421800000191 (“the Property”),

and/or full and equal enjoyment of the goods, services, foods, drinks, facilities, privileges,

advantages and/or accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until Defendants,

EDGEBROOK BUSINESS, INC. and SPRING ENTERPRISES, LP, are compelled to remove

the physical barriers to access and correct the ADA violations that exist at Zip N and the

Property, including those set forth in this Amended Complaint.

       17.     Plaintiff has visited Zip N and the Property at least once before as a customer and

advocate for the disabled. Plaintiff intends on revisiting Zip N and the Property within six

months or sooner. The purpose of the revisit is to be a return customer, to determine if and when

Zip N and the Property is made accessible and to maintain standing for this lawsuit for Advocacy



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Purposes.

       18.     Plaintiff intends on revisiting Zip N and the Property to purchase goods and/or

services as a return customer living in the near vicinity as well as for Advocacy Purposes, but

does not intend to re-expose himself to the ongoing barriers to access and engage in a futile

gesture of visiting the public accommodation known to Plaintiff to have numerous and

continuing barriers to access.

       19.     Plaintiff travelled to Zip N and the Property as a customer and as an independent

advocate for the disabled, encountered the barriers to access at Zip N and the Property that are

detailed in this Amended Complaint, engaged those barriers, suffered legal harm and legal

injury, and will continue to suffer such harm and injury as a result of the illegal barriers to access

present at the Zip N and the Property.

                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       20.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       21.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of


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               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       22.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       23.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       24.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       25.     Zip N is a public accommodations and service establishment.

       26.     The Property is a public accommodation and service establishment.



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       27.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       28.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       29.     Zip N must be, but is not, in compliance with the ADA and ADAAG.

       30.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       31.     Plaintiff has attempted to, and has to the extent possible, accessed Zip N and the

Property in his capacity as a customer of Zip N and the Property as well as an independent

advocate for the disabled, but could not fully do so because of his disabilities resulting from the

physical barriers to access, dangerous conditions and ADA violations that exist at Zip N and the

Property that preclude and/or limit his access to Zip N and the Property and/or the goods,

services, facilities, privileges, advantages and/or accommodations offered therein, including

those barriers, conditions and ADA violations more specifically set forth in this Amended

Complaint.

       32.     Plaintiff intends to visit Zip N and the Property again in the very near future as a

customer and as an independent advocate for the disabled, in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly offered at Zip N

and the Property, but will be unable to fully do so because of his disability and the

physical barriers to access, dangerous conditions and ADA violations that exist at Zip N and the

Property that preclude and/or limit his access to Zip N and the Property and/or the goods,

services, facilities, privileges, advantages and/or accommodations offered therein, including



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those barriers, conditions and ADA violations more specifically set forth in this Amended

Complaint.

       33.     Defendants, EDGEBROOK BUSINESS, INC. and SPRING ENTERPRISES, LP,

have discriminated against Plaintiff (and others with disabilities) by denying his access to, and

full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of Zip N and the Property, as prohibited by, and by failing to remove

architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

       34.     Defendants, EDGEBROOK BUSINESS, INC. and SPRING ENTERPRISES, LP,

will continue to discriminate against Plaintiff and others with disabilities unless and until

Defendants, EDGEBROOK BUSINESS, INC. and SPRING ENTERPRISES, LP, are compelled

to remove all physical barriers that exist at Zip N and the Property, including those specifically

set forth herein, and make Zip N and the Property accessible to and usable by Plaintiff and other

persons with disabilities.

       35.     A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Amended Complaint, that precluded and/or limited Plaintiff’s access to Zip N and the

Property and the full and equal enjoyment of the goods, services, facilities, privileges,

advantages and accommodations of Zip N and the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

       (i)     Near Unit 99, the accessible parking space has a slope in excess of 1:48 in

               violation of Section 502.4 of the 2010 ADAAG standards and is not level. This

               violation made it dangerous and difficult for Plaintiff to exit and enter their

               vehicle while parked at the Property.



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 (ii)    Near Unit 99, the access aisle adjacent to the accessible parking space has a slope

         in excess of 1:48 in violation of Section 502.4 of the 2010 ADAAG standards and

         are not level. This violation made it dangerous and difficult for Plaintiff to exit

         and enter their vehicle while parked at the Property.

 (iii)   Near Unit 99, the ground surfaces of the accessible parking space have vertical

         rises in excess of ¼ (one quarter) inch in height, are not stable or slip resistant,

         have broken or unstable surfaces or otherwise fail to comply with Sections 302,

         303 and 502.4 of the 2010 ADAAG standards. This violation made it dangerous

         and difficult for Plaintiff to access the units of the Property.

 (iv)    Near Unit 99, the access aisle to the accessible parking space is not level due to

         the presence of an accessible ramp in the access aisle in violation of Section 502.4

         of the 2010 ADAAG standards. This violation made it dangerous and difficult for

         Plaintiff to exit and enter their vehicle while parked at the Property.

 (v)     Near Unit 99, the accessible curb ramp is improperly protruding into the access

         aisle of the accessible parking space in violation of Section 406.5 of the 2010

         ADAAG Standards. This violation made it difficult and dangerous for Plaintiff to

         exit/enter their vehicle.

 (vi)    Near Unit 99, the Property has an accessible ramp that lacks finished edges or

         edge protection and/or is otherwise in violation of Section 405.9 of the 2010

         ADAAG standards. This violation made it difficult for Plaintiff to access the units

         of the Property.

 (vii)   Near Unit 99, the Property has an accessible ramp leading from the accessible

         parking space to the accessible entrances with a slope exceeding 1:12 in violation



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          of Section 405.2 of the 2010 ADAAG standards. This violation made it dangerous

          and difficult for Plaintiff to access the units of the Property.

 (viii)   Near Unit 99, the accessible parking space is missing a proper identification sign

          in violation of Section 502.6 of the 2010 ADAAG standards. This violation made

          it difficult for Plaintiff to locate an accessible parking space.

 (ix)     Due to a policy by the tenant of placing a speaker in the exterior accessible route

          in front of Metro PCS, there are publicly accessible areas of the Property having

          accessible routes with clear widths below the minimum 36 (thirty-six) inch

          requirement as required by Section 403.5.1 of the 2010 ADAAG standards. This

          violation made it dangerous and difficult for Plaintiff to access exterior public

          features of the Property.

 (x)      Due to obstacles placed in the exterior accessible route, the Property lacks an

          accessible route connecting accessible facilities, accessible elements and/or

          accessible spaces of the Property in violation of Section 206.2.2 of the 2010

          ADAAG standards. This violation made it difficult for Plaintiff to access public

          features of the Property.

 (xi)     Near Zip’n, the accessible parking space and associated access aisle have a slope

          and in excess of 1:48 in violation of Section 502.4 of the 2010 ADAAG standards

          and are not level. This violation made it dangerous and difficult for Plaintiff to

          exit and enter their vehicle while parked at the Property.

 (xii)    Near Zip’n, the access aisle to the accessible parking space is not level due to the

          presence of an accessible ramp in the access aisle in violation of Section 502.4 of




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          the 2010 ADAAG standards. This violation made it dangerous and difficult for

          Plaintiff to exit and enter their vehicle while parked at the Property.

 (xiii)   Near Zip’n, the accessible curb ramp is improperly protruding into the access

          aisle of the accessible parking space in violation of Section 406.5 of the 2010

          ADAAG Standards. This violation made it difficult and dangerous for Plaintiff to

          exit/enter their vehicle.

 (xiv)    Near Zip’n, the Property has an accessible ramp leading from the accessible

          parking space to the accessible entrances with a slope exceeding 1:12 in violation

          of Section 405.2 of the 2010 ADAAG standards. This violation made it dangerous

          and difficult for Plaintiff to access the units of the Property.

 (xv)     In Zip’n, there are sales and services counters lacking any portion of the counter

          that has a maximum height of 36 (thirty-six) inches from the finished floor in

          violation of Section 904.4 of the 2010 ADAAG standards, all portions of the sales

          and service counter exceed 36 (thirty-six) inches in height from the finished floor.

          This violation made it difficult for Plaintiff to properly transact business at the

          Property.

 (xvi)    In Zip’n, the vertical reach to the frozen drink and soda dispensers exceeds the

          maximum allowable height of 48 (forty-eight) inches above the finish floor or

          ground in violation of Section 308.3.1 of the ADAAG standards. This violation

          made it difficult for Plaintiff to property utilize public features of the Property.

 (xvii) Defendants fail to adhere to a policy, practice and procedure to ensure that all

          facilities are readily accessible to and usable by disabled individuals.




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 ZIP’N RESTROOMS

 (i)     The door to the restrooms has a maximum clear width below 32 (thirty-two)

         inches in violation of Section 404.2.3 of the 2010 ADAAG standards. This made

         it difficult for Plaintiff and/or any disabled individual to safely utilize the

         restroom facilities.

 (ii)    The restroom lacks signage in compliance with Sections 216.8 and 703 of the

         2010 ADAAG standards. This made it difficult for Plaintiff and/or any disabled

         individual to locate accessible restroom facilities.

 (iii)   The restrooms lack proper door hardware in violation of Section 404.2.7 of the

         2010 ADAAG standards. This made it difficult for Plaintiff and/or any disabled

         individual to utilize the restroom facilities.

 (iv)    The grab bars/handrails adjacent to the commode are missing and violate Section

         604.5 of the 2010 ADAAG standards. This made it difficult for Plaintiff and/or

         any disabled individual to safely utilize the restroom facilities.

 (v)     The hand operated flush control is not located on the open side of the accessible

         toilet in violation of Section 604.6 of the 2010 ADAAG standards. This made it

         difficult for Plaintiff and/or any disabled individual to safely utilize the restroom

         facilities.

 (vi)    The toilet paper dispenser in the accessible toilet is not positioned properly and

         violates Section 604.7 of the 2010 ADAAG standards. This made it difficult for

         Plaintiff and/or any disabled individual to safely utilize the restroom facilities.

 (vii)   The lavatories and/or sinks in the restrooms have exposed pipes and surfaces and

         are not insulated or configured to protect against contact in violation of Section



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                606.5 of the 2010 ADAAG standards. This made it difficult for Plaintiff and/or

                any disabled individual to safely utilize the restroom facilities.

       (viii)   The restroom door swings into the clear floor space or space required by fixtures

                in the restrooms in violation of Section 603.2.3 of the 2010 ADAAG standards.

                This made it difficult for Plaintiff and/or any disabled individual to safely utilize

                the restroom facilities.

       (ix)     In addition to the previously cited violations, it should be noted that the door to

                the restroom area has a sign that states that it is for employees only, but when an

                able-bodied individual requested to use the restroom, they were given access. As a

                result, the restroom should be considered a public accommodation and, therefore,

                must be ADA compliant.

       36.      The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at Zip N and the Property.

       37.      Plaintiff requires an inspection of Zip N and the Property in order to determine all

of the discriminatory conditions present at Zip N and the Property in violation of the ADA.

       38.      The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       39.      All of the violations alleged herein are readily achievable to modify to Zip N and

the Property into compliance with the ADA.

       40.      Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at Zip N and the Property is readily achievable because the nature

and cost of the modifications are relatively low as the exterior violations do not require a lot of



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concrete work or adjusting the surface slope of the parking lot. The interior violations are mostly

changing of bathroom fixtures and not major plumbing work.

       41.     Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at Zip N and the Property is readily achievable because

Defendants, EDGEBROOK BUSINESS, INC. and SPRING ENTERPRISES, LP, have the

financial resources to make the necessary modifications as the market value of the Property is

listed on the Property Appraiser as $860,272.00.

       42.     In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       43.     Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until

Defendants, EDGEBROOK BUSINESS, INC. and SPRING ENTERPRISES, LP, are required to

remove the physical barriers, dangerous conditions and ADA violations that exist at Zip N and

the Property, including those alleged herein.

       44.     Plaintiff’s requested relief serves the public interest.

       45.     The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendants, EDGEBROOK BUSINESS, INC. and SPRING ENTERPRISES, LP.

       46.     Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendants, EDGEBROOK BUSINESS, INC. and SPRING ENTERPRISES, LP,

pursuant to 42 U.S.C. §§ 12188 and 12205.

       47.     Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendants,



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EDGEBROOK BUSINESS, INC. and SPRING ENTERPRISES, LP, to modify Zip N and the

Property to the extent required by the ADA.

       WHEREFORE, Plaintiff prays as follows:

       (a)    That the Court find Defendant, EDGEBROOK BUSINESS, INC., in violation of

              the ADA and ADAAG;

       (b)    That the Court find Defendant, SPRING ENTERPRISES, LP, in violation of the

              ADA and ADAAG;

       (c)    That   the   Court   issue   a   permanent    injunction   enjoining   Defendants,

              EDGEBROOK BUSINESS, INC. and SPRING ENTERPRISES, LP, from

              continuing their discriminatory practices;

       (d)    That the Court issue an Order requiring Defendants, EDGEBROOK BUSINESS,

              INC. and SPRING ENTERPRISES, LP, to (i) remove the physical barriers to

              access and (ii) alter the subject Zip N and the Property to make it readily

              accessible to and useable by individuals with disabilities to the extent required by

              the ADA;

       (e)    That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

              and costs; and




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 (f)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: February 3, 2020.

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
                                     Douglas S. Schapiro, Esq.
                                     Attorney-in-Charge for Plaintiff
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